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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                      Plaintiff,                                   8:13CR106

       vs.
                                                                     ORDER
RUSSELL GLENN PIERCE,
DAVID WILLIAM PEER,
JOHN DOE # 3,
JOHN DOE # 4,
JOHN DOE # 5,
JOHN DOE # 6 (WARREN TIDWELL),
JOSHUA WELCH, and
THOMAS SPENCER,

                      Defendants.

       This matter is before the court on the motion to extend time to file pretrial motions by
defendant John Doe # 6 (Warren Tidwell) (Filing No. 115). Upon consideration,


       IT IS ORDERED:
       1.      The motion (Filing No. 115) is granted.
       2.      In accordance with the court’s previous order of September 9, 2013 (Filing No.
105), any pretrial motions, except motions to sever, shall be filed on or before December 9,
2013. The government’s omnibus response shall be filed on or before December 20, 2013.
       3.      Speedy Trial Act. Time under the Speedy Trial Act will be excluded from today
until December 9, 2013. The ends of justice will be served by such exclusion and outweigh the
best interest of the public and the defendants in a speedy trial. The cases are so unusual and
complex due to the number of related defendants and charges, the nature of the prosecution,
and the existence of novel questions of law that absent such an exclusion the ends of justice
would not be served as to provide adequate preparation for pretrial proceedings and the trial
itself. See: 18 U.S.C. § 3161(7)(A) and (B)(ii).


       Dated this 23rd day of September, 2013.

                                                    BY THE COURT:

                                                    s/ Thomas D. Thalken
                                                    United States Magistrate Judge
